Case 3:16-cv-00044-NKM-JCH Document 215 Filed 06/28/19 Page 1 of 2 Pageid#: 7418
                                                          CLERKS OFFICE U.S. DIST. COURT
                                                                                AT CHARLOTTESVILLE, VA
                                                                                      FILED
                                                                                  06/28/2019
                                 IN THE UNITED STATES DISTRICT COURT
                                                                                 JULIA C. DUDLEY, CLERK
                                FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                                 BY: /s/ J. JONES
                                       CHARLOTTESVILLE DIVISION
                                                                                    DEPUTY CLERK


   DAMIAN STINNIE, ET AL.,
                                                        3:16-CV-00044
                                          Plaintiffs,

                           v.                           ORDER
   RICHARD D. HOLCOMB,
   in his official capacity as the Commissioner of      JUDGE NORMAN K. MOON
   the Virginia Department of Motor Vehicles,
                                                        SENIOR UNITED STATES DISTRICT JUDGE
                                        Defendant.

            In accordance with the Court’s memorandum opinion, Defendant Virginia Department of

  Motor Vehicles Commissioner Richard D. Holcomb’s (the “Commissioner”) motion to dismiss

  case as moot or in the alternative stay is DENIED in part and GRANTED in part. (Dkt. 142).

  This case is STAYED pending the 2020 session of Virginia’s General Assembly. The stay will

  continue through March 21, 2020, fourteen days following the conclusion of the General

  Assembly’s session. The parties shall submit status reports on the following dates:

            January 22, 2020—fourteen days following the first meeting of the General Assembly as

            mandated by Va. Code § 30-1

            March 14, 2020—seven days following the conclusion of the meeting of the General

            Assembly pursuant to Va. Const. art IV, § 6.

            The parties are further ORDERED to, within ten days of this order, schedule a status

  hearing to take place within one week of the filing of their March 14, 2020 report.

            It is so ORDERED.

            The Clerk of the Court is hereby directed to send a copy of this order to all counsel of

  record.
Case 3:16-cv-00044-NKM-JCH Document 215 Filed 06/28/19 Page 2 of 2 Pageid#: 7419




        Entered this ____
                     28th day of June, 2019.
